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Debtor 4 VIKRAM SAGAR PASALA
First Name Middle Name Last Name

Debtor 2

(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Eastern District of Michigan
Case number 24-44296

{if known)

Official Form 106J
Schedule J: Your Expenses

Check if this is:

CJ An amended filing

C] A supplement showing postpetition chapter 13
expenses as of the following date:

MM / DD/ YYYY

12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number

(if known). Answer every question.

rte at Describe Your Household

1. Is this a joint case?

wi No. Go to line 2.
CJ Yes. Does Debtor 2 live ina separate household?

C Ne
C) Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2. Do you have dependents? O) No
Dependent’s relationship to Dependents Does dependent live
Do not list Dabtor 1 and wf Yes. Fill out this information for Debtor 1 or Debtor 2 age with you?
Debtor 2. each dependent... ws
Do not state the dependents’ Amisha Pasala 21 0 No
names. Yes
Ashna Pasala 18 @ no
C} ves
CJ No
Cl Yes
(I No
C] Yes
C] No
OQ] Yes
3. Do your expenses include ow No
expenses of people other than
yourself and your dependents? © Yes
fe Estimate Your Ongoing Monthly Expenses
Estimate your exp as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report

expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the

applicable date.

Include expenses paid for with non-cash government assistance if you know the value of

such assistance and have included it on Schedule I: Your Income (Official Form 1061.)

4. The rental or home ownership expenses for your residence. Include first mortgage payments and

any rent for the ground or lot.

if not included in line 4:

4a. Real estate taxes

4b. Property, homeowner's, or renter’s insurance

4c. Home maintenance, repair, and upkeep expenses

4d. Homeowner's association or condominium dues

Official Form 106J Schedule J: Your Expenses

Your expenses
4 $
4a. $
4b. §
Ac. §
4d. §

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Debtor 1 VIKRAM SAGAR PASALA

5. Additional mortgage payments for your residence, such as home equity loans 5.
6. Utilities:
6a. Electricity, heat, natural gas 6a.
6b. Water, sewer, garbage collection 6b.
6c. Telephone, cell phone, Internet, satellite, and cable services 6c.
6d. Other. Specify: 6d.
7. Food and housekeeping supplies 7.
8. Childcare and children’s education costs 8.
9. Clothing, laundry, and dry cleaning 9.
10. Personal care products and services 10.
11. Medical and dental expenses 11.
12. Transportation. Include gas, maintenance, bus or train fare.
Do nat include car payments. 12.
13. Entertainment, clubs, recreation, newspapers, magazines, and books 13.
14. Charitable contributions and religious donations 14.
15, Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. Life insurance 15a.
15b. Health insurance 15b.
15c. Vehicle insurance 156.
16d. Other insurance. Specify: 16d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify: 16.
17. Installment or lease payments:
17a, Car payments for Vehicle 1 17a.
17b. Car payments for Vehicle 2 17b.
17c. Other. Specify: 17c.
17d. Other. Specify: 17d.
18. Your payments of alimony, maintenance, and support that you did not report as deducted from
your pay on line 5, Schedule |, Your Income (Official Form 1061). 18.
19. Other payments you make to support others who do not live with you.
Specify: 19.
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule f: Your income.
20a. Mortgages on other property 20a.
20b. Real estate taxes 20b.
20c. Property, homeowner's, or renter’s insurance 20c.
20d. Maintenance, repair, and upkeep expenses 20d.
20e. Homeowner's association or condominium dues 20e.
Official Form 106J Schedule J: Your Expenses

Firat Name Middie Name Last Name

Case number (# known} 24-44296

Your expenses
$
$ 100.00
$ 100.00
$ 150.00
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$ 400.00
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$ 150.00
$ 90.00
5 100.00
$ 150.00
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Debtor 1 VIKRAM SAGAR PASALA Case number (if known), 24-44296

First Name Muidie Name Last Name
21. Other. Specify: 21. +5
22. Calculate your monthly expenses.
22a. Add lines 4 through 21. 2a § 1,490.00 |
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22b. 3
22c, Add line 22a and 22b. The result is your monthly expenses. 220. $ 1,490.00

23. Calculate your monthly net income.

5 5,298.00

23a. Copy line 12 (your combined monthly income) from Schedule |. 23a.

23b. Copy your monthly expenses from line 22c abave. 2b. .g 1,490.00

23c. Subtract your monthly expenses from your monthly income. 3,808.00
The result is your monthly net income. 236. : -

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

wi No.

Cl Yes. Expiain here:

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